                                                                     United States Bankruptcy Court
                                                                        Northern District of California
In re       Jose S Martinez                                                                                        Case No.    15-11193
                                                                                       Debtor(s)                   Chapter     13

                                            AMENDED CHAPTER 13 PLAN OF APRIL 25, 2016
        1. PAYMENTS
            The Debtor or Debtors (hereinafter called "Debtor") submit to the Chapter 13 Trustee all projected disposable income to
            be received within the applicable commitment period of the Chapter 13 Plan (hereinafter called "Plan"). The total
            number of payments shall be 60 , and in the amount of $100.00 per month for 4 months, then $310.00 per month for
            56 months. The pre-confirmation Plan payments to the Trustee must begin 30 days from the date of the filing of the Plan
            or the Order of Relief, whichever is earlier. The post-confirmation Plan payments to the Trustee will commence on the
            20th of the first month after the Plan is confirmed. Upon post-confirmation dismissal of this Plan, all funds held by the
            Trustee shall be disbursed to Administrative Costs and Creditors.

             Debtor elects a voluntary wage order

        2. PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS
            The following pre-confirmation adequate protection payments on claims secured by personal property shall be paid by
            the Trustee to the below listed creditors. The Debtor proposing pre-confirmation payments will commence these
            payments to the Trustee within 30 days of the date this Plan was filed or the Order of Relief, whichever is earlier.
            Creditors must file a proof of claim to receive payment from the Trustee. Payments by the Trustee should commence to
            these Creditors within 30 days of the filing of the proof of claim. Upon a pre-confirmation dismissal, all adequate
            protection order payments held by the Trustee shall be disbursed to Creditors.

         Name of Creditor                                               Collateral Description                                      Monthly Payment
         -NONE-


        3. ADMINISTRATIVE COSTS
            Trustee shall receive a percentage of each plan payment, whether made before or after confirmation, as established by
            the United States Trustee.

             Chapter 13 Attorney fees may be included in a Chapter 13 Plan. Fees and costs requested for allowance are as follows:

          Total Fees & Costs Requested                                Fees & Costs Received      Balance of Fees & Costs Due        Monthly Payment
                                         $1,500.00                                    $0.00                       $1,500.00                     Pro-Rata

             Fees and costs allowed shall be paid at a fixed monthly rate and will accrue concurrently with pre-confirmation adequate
             protection payments listed in Section 2 above and will be paid with Secured Debt as listed in Section 4A below. Upon a
             pre-confirmation dismissal, all accrued pre-confirmation attorney fees and costs payments held by the Trustee shall be
             disbursed to the attorney.

        4. SECURED DEBT
            Interest shall accrue on all secured claims from the date the petition is filed. Interest will be calculated at 10% per
            annum unless the Debtor specifies otherwise in this Plan. Secured Creditors will retain their liens until their allowed
            secured claims have been paid.

             A) Post-Confirmation Payments to Creditors Secured by Personal Property
                 The Debtor seeks a determination that the value of the collateral is as set forth below. Failure to object to this listed
                 amount shown may result in the Creditor's secured claim being limited to the collateral value amount listed.
                 Creditors will, at minimum, be paid the amount reflected as the monthly payment. The Debtor's omission of any
                 secured creditor does not affect the rights of the omitted creditor to file claims and be paid.




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                    With respect to a debt for which Debtor has written "Yes" in the column "Surrender" and where the Creditor files a
                    written objection to the treatment provided such debt, Debtor surrenders all interest in the collateral, and the debt
                    shall be treated under Section 4B below.

         Name of Creditor                            Collateral Description             Collateral Secured Debt    Interest     Monthly Surrender
                                                                                           Value        Amount       Rate       Payment Yes/No
         -NONE-


             B) Surrender of Property
                 The Debtor surrenders any interest in the following collateral. The Debtor waives the protection of the automatic
                 stay and allows the affected Creditor to obtain possession and dispose of its collateral, without further Order of the
                 Court. Any secured claim filed by the below Creditors will be deemed satisfied in full through surrender of the
                 collateral. Any unsecured deficiency claim must be filed by the bar date for unsecured debts.

         Name of Creditor                                                                  Collateral to be surrendered
         -NONE-


             C) Post Petition Payments on Real Property Debt Paid by Debtor

         Name of Creditor                                                    Property Address                                                Monthly
                                                                                                                                      Payment Amount
         -NONE-


             D) Pre-Petition Debt on Real Property
                 The Trustee shall pay defaulted real property debt. This prorata payment for defaulted real property debts will begin
                 after payment in full of the Attorney fees and costs listed in section 3 above.

         Name of Creditor                                            Property Address                                     Defaulted     Interest Rate
                                                                                                                              Debt
         -NONE-


      5. EXECUTORY CONTRACTS/LEASES

             A) The Debtor assumes the executory contract(s)/lease(s) referenced below and provides for the regular contract/lease
                 payment(s), both pre-confirmation and post-confirmation, to be paid directly by the Debtor. Any pre-petition lease
                 arrearage will be paid through this Plan after payment of arrearages listed in 4D above.

         Name of Creditor/Lessor                         Property Address                       Lease Arrearage Regular # of                    Lease
                                                                                           Arrearages Payment by Lease Payments            Payment by
                                                                                         as of Date of   Trustee Remaining as of               Debtor
                                                                                                Filing            Date of Filing
         -NONE-


             B) The Debtor rejects the following executory contract/lease and surrenders any interest in property securing these
                 executory contracts/leases. The Debtor waives the protection of the automatic stay and allows the affected Creditor
                 to obtain possession and dispose of its collateral, without further Order of the Court. Any unsecured claim resulting
                 from the rejection must be filed by the bar date for unsecured debts:

         Name of Creditor/Lessor                                             Identity of Executory                Property Subject to Executory
                                                                             Contract/Lease &                     Contract/Lease
         -NONE-




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      6. PRIORITY CLAIMS
          Trustee shall pay all allowed filed priority claims and will pay the claims listed in 6B below, prior to paying those
          unsecured priority claims listed in sections 6C, 6D, and 6E below. Those claims listed in sections 6C, 6D and 6E below
          will be paid prorata.

             A) Post Petition Domestic Support Obligations:

                    1)       X      None.

                    2) The name(s), and address(es) of the holder of ANY domestic support obligation.

         Name of Creditor                                                   Address

                    3) The Debtor will pay all post-petition domestic support obligations directly to the holder of the claim and not
                        through the Chapter 13 plan.

             B) Pre-Petition Arrearages owed to Domestic Support Obligation Creditors:

                    1)         X      None.

                    2) Name of holder of Domestic Support Obligation Arrearage Claim, arrears and monthly payment.

         Name of Holder                                                                Arrearage                         Monthly Payment

             C) Pre-Petition Domestic Support Obligations assigned to or owed to a governmental unit:

                    1)         X      None.

                    2) Name of Governmental Creditor, address and amount due:

       Name of Governmental Creditor                                  Address                                                Amount Due

             D) Priority Tax Claims:

       Name of Creditor                                                     Address                                          Amount Due
       State Board of Equalization                                          PO BOX 942879, SACRAMENTO, CA 94279                $14,443.59


             E) Other Priority Claims:

       Name of Creditor                                                     Address                                          Amount Due
       -NONE-

      7. UNSECURED DEBTS TO BE PAID WITH INTEREST

             A) The following debts shall be paid in full with interest from petition date.

       Name of Creditor                                                 Address                             Amount Due     Interest Rate
       -NONE-


      8. OTHER UNSECURED DEBTS
          Allowed unsecured claims shall be paid from funds remaining, after payment of the debts described (whether or not paid
          in full with interest) in Sections 2 through 6 above. The amounts to be paid under this Section 8 are estimated to
          be 0 % percent of allowed claims. (Prorata Plan)




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      9. Trustee is to be provided, thru the commitment period of the Plan, with Debtors future Federal Tax Returns, beginning
          with the Current (2016) tax year, by May 15th of the year following the year of the return. Trustee may request and
          Debtor must supply current income and expense information, on required Trustee forms, for each of the years that the
          tax returns are provided.

      10.The Debtor elects to have property of the estate revest in the Debtor upon Plan confirmation. Once the property revests,
          the Debtor may sell or refinance real or personal property, without further order of the Court, upon approval of the
          Chapter 13 Trustee.

      11. Notwithstanding any contrary language elsewhere in the plan, debtor does not seek through the confirmation and
          consummation of this plan either a determination of the dischargeability of any debt or the discharge of any debt that is
          non-dischargeable in a Chapter 13 case pursuant to section 1328 of the Bankruptcy Code.

      12. Debtor(s) shall file a Motion to Value and Avoid Lien (the "Motion") with respect to the lien held by Creditor       , a
          subordinate lien holder on debtor’s residence located at     in an approximate amount of $           and will request an
          order from the Court valuing and avoiding the lien.

             No payment will be made to Creditor as a secured subordinate lien holder while the Motion is pending.

             If the court grants the Motion and determines the subordinate lien held by Creditor is unsecured within the meaning of 11
             U.S.C. § 506, the lien shall dealt with as provided in the Court’s GUIDELINES FOR VALUING AND AVOIDING LIENS
             IN INDIVIDUAL CHAPTER 11 CASES AND CHAPTER 13 CASES. If the Court denies the Motion, the Debtor(s) shall
             promptly, but no more than fourteen (14) days from Notice of Entry of the order denying the motion, amend the Plan to
             provide for appropriate treatment of this lien, consistent with the subject order.

             If the Debtor(s) fails to timely file an amended Plan as provided for above, the Creditor or the Trustee may file a Motion to
             Dismiss for failure to prosecute the case or Creditor may file a Motion for Relief from Stay.

             The Chapter 13 Plan shall not be confirmed until the Court enters its order regarding the Motion.

      13. Other than to complete the information required, the above preprinted language of this plan form shall not be altered.
          This does not mean that the Debtor is prohibited from proposing additional or different plan provisions. As long as the
          addition of different provisions are consistent with the Bankruptcy Code, Debtor may propose additional or different
          plan provisions or specify that any of the above provisions will not be applicable. Each such provision or change shall be
          set out below. Use additional pages if necessary.

           Regarding Proof of Claim No. 1 filed in this case by the State Board of Equalization in the amount of $22,526.63.

           1) Debtor will dismiss with prejudice adversary proceeding no. 16-01004.

           2) Debtor will not contest Creditor's right to retain all funds levied by Creditor prior to the filing of this case.

           3) Debtor will pay Creditor the remaining tax (sometimes called “principal”) of $14,443.59 through Debtor's chapter 13
            bankruptcy plan.

           4) In the event Debtor's chapter 13 bankruptcy case is dismissed, this stipulation for settlement is void, and Creditor is
            expressly permitted to resume its normal collection procedures against the Debtor.

           5) In the event Debtor completes his bankruptcy plan and pays a total of $14,443.39 through the bankruptcy, BOE will
            write off the remaining balance owed by Debtor to the State Board of Equalization and release all tax liens against
            Debtor.


 Dated: April 25, 2016                                        /s/ Jose S Martinez
                                                              Jose S Martinez
                                                                              (Debtor)                                (Debtor)




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